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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DEMOCRATIC PARTY OF GEORGIA,
INC., DSCC, and DCCC,
          Plaintiffs,                           Civil Action File No.
                                                1:19-cv-5028-WMR
                   v.
BRAD RAFFENSPERGER, in his official
capacity as SECRETARY OF STATE OF
GEORGIA; REBECCA N. SULLIVAN,
DAVID J. WORLEY, SETH HARP, and
ANH LEE, in their official capacities as
Members of the Georgia State Election
Board; and STEPHEN DAY, JOHN
MANGANO, ALICE O’LENICK, BEN
SATTERFIELD, and BEAUTY
BALDWIN, in their official capacities as
Members of the Gwinnett County Board of
Registration and Elections,
           Defendants.



      FIRST AMENDED COMPLAINT FOR INJUNCTIVE AND
                 DECLARATORY RELIEF
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      Plaintiffs, DEMOCRATIC PARTY OF GEORGIA, INC., DSCC aka

DEMOCRATIC SENATORIAL CAMPAIGN COMMITTEE, and DCCC aka

the DEMOCRATIC CONGRESSIONAL CAMPAIGN COMMITTEE, through

the undersigned attorneys, file this COMPLAINT FOR INJUNCTIVE AND

DECLARATORY RELIEF against Defendants, BRAD RAFFENSPERGER, in

his official capacity as Secretary of State of Georgia; REBECCA N.

SULLIVAN, DAVID J. WORLEY, SETH HARP and ANH LEE, in their

official capacities as Members of the Georgia State Election Board; and

STEPHEN        DAY,      JOHN       MANGANO,           ALICE      O’LENICK,         BEN

SATTERFIELD and BEAUTY BALDWIN, in their official capacities as

Members of the Gwinnett County Board of Registration and Elections. Based

upon information and belief, Plaintiffs allege as follows:

                              NATURE OF THE CASE

      1.      “No right is more precious in a free country than that of having a voice

in the election of those who make the laws under which, as good citizens, we must

live. Other rights, even the most basic, are illusory if the right to vote is undermined.”

Wesberry v. Sanders, 376 U.S. 1, 17 (1964). Plaintiffs bring this lawsuit to protect

this right and to prevent the disenfranchisement of Georgia voters whose absentee

by-mail (“absentee”) ballots have been rejected for missing or mismatched

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signatures. The cause of this disenfranchisement is two-fold. First, voters harmed

by Georgia’s standardless and unreliable signature matching procedure, under which

untrained county election officials acting without any state guidance are required to

compare voters’ signatures on absentee ballots and reject ballots where they perceive

a signature mismatch. Second, they are harmed by Georgia’s standardless procedure

for notifying absentee voters that their signatures are either missing or mismatched,

which fails to provide Georgia voters with a meaningful ability to cure their ballots

within the prescribed timeframe. These deficient procedures disproportionately

impact African-American and other minority voters and have a particularly

detrimental impact on minority voters in Gwinnett County, who are further burdened

by Gwinnett County’s poorly designed, confusing absentee ballot envelope, which

places these voters at a heightened risk of returning an absentee ballot without

properly completing the signature requirement. Because of Georgia’s standardless

signature match and notifications procedures, and Gwinnett County’s confusing

absentee ballot envelope design, hundreds of Georgia voters’ absentee ballots have

gone uncounted, and hundreds more face the same fate in the 2020 election without

intervention from this Court.

      2.     Absentee voting is extraordinarily popular among Georgia voters

and has grown in popularity over time. Applications for absentee ballots surged

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in advance of the 2018 general elections, with over 281,000 Georgia voters

requesting absentee ballots. And, despite the fact that turnout has historically been

lower in midterm elections than in presidential elections, the total number of

returned absentee ballots in the 2018 midterm election⸺nearly 284,393⸺was

greater than the number cast in the 2016 presidential election, 246,621.

      3.     Georgia also routinely rejects a significant number of absentee ballots.

Of the combined 531,014 absentee ballots cast in the past two general elections,

6,681 have been rejected for technical reasons wholly unrelated to the voter’s

qualifications, including failing to sign the oath on the back of the absentee ballot

envelope or having a mismatched signature. During the 2016 general election,

Georgia County Election Officials rejected 580 absentee ballots for missing or

inaccurate oath information, including missing and mismatched signatures, 145

and 435, respectively. And, in the 2018 general election, County Election

Officials rejected 454 ballots for the same reasons, rejecting 227 absentee ballots

for each. One county—Gwinnett—rejected far more absentee ballots, 118, for

missing or mismatched signatures than any other county, 103 and 15,

respectively.

      4.     The number of absentee ballots rejected for a missing or mismatched

signature is significant, especially when evaluated in context. Saucedo v. Gardner,

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335 F. Supp. 3d 202, 217 (D.N.H. 2018) (“[t]he overall rates of rejection due to a

signature mismatch have been low in recent general elections. But those rates should

be put into perspective.”). Recently, elections in Georgia have been decided by small

margins. For example, the Democratic candidate in the 2018 gubernatorial race, who

received a substantial majority of the votes cast by absentee ballots (137,616 out of

the 223,576 absentee ballots cast), lost by under 55,000 votes (1.3 percentage

points). And in an even closer race, the Democratic candidate for Georgia’s 7th

Congressional District for the U.S. House of Representatives, who received

57 percent of the absentee ballot votes (10,466 out of 18,217 absentee ballots cast),

lost by just 419 votes (.14 percentage points). Georgia’s arbitrary rejection of

absentee ballots not only disenfranchises individual voters, but it also leads to

election results that may not reflect the will and intent of Georgia’s electorate.

      5.     Because such a significant number of absentee ballots have been

rejected in Georgia, the State has seen a flood of litigation since the 2018 general

election aimed at ending the disenfranchisement caused by the absentee voting

regime. In a series of opinions, courts in this district have repeatedly found that

outright rejection of absentee ballots for missing or inaccurate oath information

violates the U.S. Constitution and the Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B).

See Democratic Party of Ga., Inc. v. Crittenden, 347 F. Supp. 3d 1324 (N.D. Ga.

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2018); Martin v. Crittenden, 347 F. Supp. 3d 1302 (N.D. Ga. 2018); Martin v. Kemp,

341 F. Supp. 3d 1326 (N.D. Ga. 2018).

      6.    As a result, the Georgia General Assembly amended the absentee

voting scheme in an attempt to prevent absentee ballots from being rejected for

technical reasons, including for missing or mismatched signatures. Specifically,

the General Assembly modified the language of the oath on the absentee ballot

envelope to remove requests for certain technical information. And, adding to

the existing requirement that election officials “promptly notify” the voter of a

missing or mismatched signature, it required that election officials give a voter

until three days after the date of the election to cure a signature before rejecting

an absentee ballot for a missing or mismatched signature. Id. at §§ 21-2-

386(a)(1)(C), -419(c).

      7.     These reforms, however, do not remedy the flaws in Georgia’s

absentee ballot regime and will not end the unconstitutional disenfranchisement

of voters. Most glaringly, the law still does not provide any timeliness standard

for election officials to “promptly” notify voters of missing or mismatched

signatures; nor does it provide any standard for the form of notice required.

      8.    As a result, counties interpret “prompt” notice differently and use

inconsistent methods to inform voters of the need to cure their absentee ballots.

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For example, some counties send letters by first-class mail, while others call or

email voters. And some counties provide notification up to three days after

identifying the missing or mismatched signature. Such an interpretation is

problematic for voters whose absentee ballots are submitted on or close to

election day, as they are sent letters three days later and are not notified with

sufficient time to cure during the three-day post-election period. Thus,

depending on where the voter lives, she may not receive notice in time to cure

and her ballot will be rejected outright, directly contrary to the U.S. Constitution

and the rulings of courts in this district.

      9.     And County Election Officials are left to their own devices when

determining whether a signature matches on an absentee ballot in the first place,

as the law wholly lacks any standards for election officials to follow when

comparing signatures, fails to require any training in signature examination, and

is not supported by any significant oversight to monitor signature match errors

and prevent the disenfranchisement of eligible, qualified voters.

      10.    Indeed, studies have shown that signature matching conducted by

laypersons results in a high rate of error that skews toward the over-rejection of

legitimate signatures. This high risk of error, combined with the absence of any

uniform standards or criteria for signature matching, all but ensures unlawful

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disenfranchisement of absentee voters, and creates a regime in which the fate of

an absentee ballot often depends on whichever arbitrary standard is employed

by the county in which the voter resides, or the specific County Election Official

charged with reviewing the voter’s signatures.

      11.    Without a uniform standard for the timing for election officials to

provide notice to voters about missing or mismatched signatures or the method

of notification or without standard procedures and training for determining a

signature match, practices will continue to vary widely across the state, with

each of Georgia’s 159 counties establishing its own deadline and method for

notification as well as its own standardless and untrained determination of

signature matching. This hodgepodge approach unduly burdens absentee voters’

right to vote.

      12.    These burdens are exacerbated in Gwinnett County, whose high

volume of absentee ballots with missing or mismatched signatures and

corresponding high rejection rate is tied not only to Georgia’s standardless

signature-matching and notification procedures, but directly to the confusing and

opaque design of its absentee ballot envelope, which often prevents voters from

even realizing that their signatures are required. Because Gwinnett County must

include the oath in both English and Spanish on the envelope, it uses small,

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nearly illegible type in approximately 6.5-point font.1 By way of example, this text is in

size 6.5-point font   .

              13.         Given the deficient design of the Gwinnett County absentee ballot

envelope, the county rejected more absentee ballots for missing or mismatched

signatures than any other county during the 2018 general election (118 of the

454 rejected ballots). The recent changes to the language in the oath on the ballot

envelope do not address the design flaws; Gwinnett County’s absentee ballot

envelope remains lengthy and cramped, and voters will continue to find it

indiscernible. As such, Gwinnett County’s absentee ballot envelope design,

coupled with the County’s arbitrary signature match process and inadequate

notification procedures under Georgia’s standardless notification system, will

continue to create an unusually high risk that voters who vote absentee will have

their votes ultimately rejected for missing or mismatched signatures and be

disenfranchised.

              14.         Additionally, the continued rejection of absentee ballots for

mismatched or missing signatures will have a disproportionate effect on


1
  Bureau of the Census, Department of Commerce, Voting Rights Act Amendments of 2006,
Determinations Under Section 203, 81 Fed. Reg. 233, 87535 (Dec. 5, 2016),
https://www.govinfo.gov/content/pkg/FR-2016-12-05/pdf/2016-28969.pdf (requiring Gwinnett
County to provide voting material in both English and Spanish given its large Hispanic
population).
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minority voters, who were twice as likely to have their absentee ballots rejected

in 2018. This disparity is particularly acute in Gwinnett County, where people

of color make up nearly 45 percent of registered voters. African-American and

Latino voters make up over 35 percent of Gwinnett County’s active voting

population, and they accounted for 49 percent of rejected absentee ballots during the

2018 general election.

      15.    Absent judicial intervention, voters who submit absentee ballots in

Gwinnett County and other areas of the state will continue to have their votes

thrown out in future elections due to the arbitrary, unreliable procedure for

comparing signatures in violation of the First and Fourteenth Amendments to the

U.S. Constitution, and due to the standardless procedure for notifying voters of

missing or mismatched signatures in clear violation of the Due Process and Equal

Protection Clauses of the Fourteenth Amendment. Absentee voters in Gwinnett

County will have their right to vote further burdened by the County’s poorly

designed ballot envelope in violation of the First and Fourteenth Amendments.

                            JURISDICTION AND VENUE

      16.       Plaintiffs bring this action under 42 U.S.C. §§ 1983 and 1988 to redress

the deprivation under color of state law of rights secured by the United States

Constitution.

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       17.     This Court has original jurisdiction over the subject matter of this

action pursuant to 28 U.S.C. §§ 1331 and 1343 because the matters in controversy

arise under the Constitution and laws of the United States.

       18.     This Court has personal jurisdiction over Defendants, who are sued in

their official capacity only.

       19.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because a

substantial part of the events that gave rise to Plaintiffs’ claims occurred in this

judicial district.

       20.     This Court has the authority to enter a declaratory judgment and to

provide preliminary and permanent injunctive relief pursuant to Rules 57 and 65 of

the Federal Rules of Civil Procedure and 28 U.S.C. §§ 2201 and 2202.

                                     PARTIES

       21.    Plaintiff DEMOCRATIC PARTY OF GEORGIA, INC., (“DPG”)

is a state committee, as defined by 52 U.S.C. § 30101(15), dedicated to electing

candidates of the Democratic Party to public office throughout the State of

Georgia. DPG has members and constituents from across Georgia, including

many eligible voters who regularly support and vote for candidates affiliated

with the Democratic Party. As discussed infra, members and constituents of the

Democratic Party risk having their right to vote burdened and/or denied due to

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the absentee voting scheme. DPG brings these claims on their behalf, as well as

in its own right.

      22.     DPG is directly harmed by the Georgia’s standardless absentee

signature matching and notification processes and Gwinnett County’s deficient

absentee ballot envelope because each frustrates its mission and efforts to elect

Democratic Party candidates in Georgia, undermining DPG’s efforts to successfully

help elect Democratic candidates to office. In recent elections, for example, absentee

voters have disproportionately voted for Democratic candidates. For example, in the

2018 general election, the majority of absentee voters supported the Democratic

candidate for governor (137,616 out of the 223,576 absentee ballots cast—or 61.5

percent). Thus, Georgia’s standardless signature matching and notification

procedures    and    Gwinnett     County’s        absentee   ballot   envelope    design

disproportionately impacts and undermines DPG’s efforts to successfully help elect

candidates of the Democratic Party to office.

      23.    Further, as part of DPG’s get-out-the-vote efforts, it engages in a robust

absentee voter contact program designed to: (i) inform thousands of voters statewide

of their ability to cast absentee ballots; (ii) explain the rules and deadlines governing

vote by mail; and (iii) encourage voters to utilize vote by mail. Georgia’s laws

regarding missing and mismatched signatures decrease overall confidence in the

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absentee voting processes, and Georgia’s voting scheme generally, thereby directly

undermining the efforts of DPG to encourage voters to utilize absentee ballots and

to assist them in exercising their right to vote. Because of Georgia’s flawed absentee

voting notification procedure and Gwinnett County’s deficient absentee ballot

envelope design, DPG will have to divert resources to provide support for voters to

help them avoid disenfranchisement and overcome the burdens they face as a result

of these flawed laws, procedures, and absentee voting materials⸺resources it

otherwise would use to educate voters about issues and individual candidates.

      24.    Plaintiff DSCC is a Democratic political committee established and

maintained by a national political party, as defined by and used in 11 C.F.R. §

110.2(c)(2)(iii) and provided for in 52 U.S.C. § 30116(h). DSCC’s mission is to

elect candidates of the Democratic Party to the U.S. Senate, including in Georgia,

where there will be a competitive Senate election in 2020. DSCC works to

accomplish its mission by, among other things, contributing money to

Democratic candidates for U.S. Senate, making expenditures on behalf of

Democratic candidates for U.S. Senate, and assisting state parties throughout the

country, including in Georgia, in the development and implementation of

programs benefiting Democratic candidates for Senate and other federal, state,

and local offices, such as get-out-the-vote and generic party efforts undertaken

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on behalf of the Democratic ticket. In 2018, DSCC made contributions and

expenditures in the tens of millions of dollars to persuade and mobilize voters to

support Democratic Senate candidates. In 2020, Georgia voters will be electing

two U.S. Senators and DSCC intends to make substantial contributions and

expenditures to support Democratic candidates for U.S. Senate in Georgia in

2020. DSCC also intends to provide assistance to the state party.

      25.    DSCC is directly harmed by Georgia’s standardless signature matching

and notification processes and Gwinnett County’s deficient absentee ballot envelope

because each frustrates its mission and efforts to elect Democratic Party candidates

in Georgia to the Senate. In recent elections, for example, absentee voters have

disproportionately voted for Democratic candidates. For example, in the 2018

general election, the majority of absentee voters supported the Democratic candidate

for governor (137,616 out of the 223,576 absentee ballots cast—or 61.5 percent).

Thus, Georgia’s standardless signature matching and notification procedures and

Gwinnett County’s deficient absentee ballot envelope disproportionately impacts

and undermines DSCC’s efforts to successfully help Democratic U.S. Senate

candidates to office. In an election year in which Georgia is projected to have two

closely-watched Senate races, it is crucial that every single eligible voter’s vote is

counted. But because Georgia’s absentee ballot regime consistently disenfranchises

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Georgia voters—and particularly Democratic voters—DSCC will have to divert

resources to provide support for voters, resources it otherwise would use to educate

voters about issues and individual candidates.

      26.   DCCC is the national congressional committee of the Democratic

Party as defined by 52 U.S.C. § 30101(14). DCCC’s mission is electing

Democratic candidates to the U.S. House of Representatives from across the

United States, including from Georgia’s 14 congressional districts. DCCC works

to accomplish its mission by, among other things, making expenditures for, and

contributions to, Democratic candidates for U.S. Congress and assisting state

parties throughout the country, including in Georgia. For 2020, DCCC will

expend significant resources to support Democratic candidates in a number of

targeted races in Georgia’s 14 congressional districts, including the 7th

Congressional District, which includes parts of Gwinnett County. Overall, in

2020, DCCC expects to make contributions and expenditures in the millions of

dollars to persuade and mobilize voters to support Democratic candidates in

congressional elections around the country. DCCC also provides assistance to

the state Democratic parties in the development and implementation of programs

benefiting Democratic candidates for federal, state, and local office, including

get-out-the-vote initiatives and other initiatives designed to increase turnout by

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Democratic voters.

      27.    DCCC is directly harmed by Georgia’s standardless signature matching

and notification processes and Gwinnett County’s deficient absentee ballot envelope

because each frustrates its mission and efforts to elect candidates to the U.S. House

of Representatives in Georgia. In recent elections, for example, absentee voters have

disproportionately voted for Democratic candidates. For example, in the 2018

general election, the majority of absentee voters supported the Democratic candidate

for governor (137,616 out of the 223,576 absentee ballots cast—or 61.5 percent).

Thus, Georgia’s standardless signature matching and notification procedures and

Gwinnett County’s absentee ballot envelope disproportionately impacts and

undermines DCCC’s efforts to successfully help elect Democratic congressional

candidates to office. Just as in 2018, where the DCCC supported candidates who lost

by mere hundreds of votes, the 2020 Georgia congressional elections are expected

to be close and it is increasingly important to ensure that every vote counts. But

because Georgia’s absentee ballot regime consistently disenfranchises Georgia

voters—and particularly Democratic voters—DCCC will have to divert resources to

provide support for voters, resources it otherwise would use to educate voters about

issues and individual candidates.

      28.    Defendant BRAD RAFFENSPERGER is sued for declaratory and

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injunctive relief in his official capacity as the Secretary of State of Georgia

(hereinafter “Raffensperger” or the “Secretary”). The Secretary of State is a state

official subject to suit in his official capacity because his office “imbues him with

the responsibility to enforce the law or laws at issue in the suit,” Grizzle v. Kemp,

634 F.3d 1314, 1319 (11th Cir. 2011), i.e., the election laws in the State of Georgia.

Specifically, the Secretary is the chief elections officer of the State and is therefore

responsible for the administration of the state laws affecting voting, including the

absentee voting system. See O.C.G.A. § 21-2-50(b). The Secretary is responsible for

“furnish[ing] . . . oaths of assisted electors, . . . [and] envelopes and instruction sheets

for absentee ballots,” and other supplies. Id. at § 21-2-50(a)(5). The Secretary also

determines the content of the oath on the back the ballot envelopes. See id. at § 21-

2-384(b), (c). The Secretary serves as the Chair of the State Election Board, which

is the body responsible for ensuring uniform election practice in Georgia.

       29.    Defendants REBECCA N. SULLIVAN, DAVID J. WORLEY, SETH

HARP, and ANH LEE (hereinafter, “State Election Board” or “State Election Board

Members”), are members of the State Election Board in Georgia, responsible for

“promulgat[ing] rules and regulations so as to obtain uniformity in the practices and

proceedings of superintendents, registrars, deputy registrars, poll officers, and other

officials, as well as the legality and purity in all primaries and elections.” Id. at § 21-

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2-31(1). The State Election Board Members are responsible for “formulat[ing],

adopt[ing], and promulgat[ing] such rules and regulations, consistent with law, as

will be conducive to the fair, legal, and orderly conduct of primaries and elections;

and, upon the adoption of each rule and regulation, the board shall promptly file

certified copies thereof with the Secretary of State and each superintendent.” Id. at

§ 21-2-31(2). The State Election Board Members, personally and through the

conduct of their employees, officers, agents, and servants, acted under color of state

law at all times relevant to this action, and are sued for declaratory and injunctive

relief in their official capacities.

       30.    The Secretary of State and the State Election Board have the authority

to direct the officials in each county who are responsible for administering elections

(that is, the county elections board or the superintendent of elections) (collectively

“the County Election Officials”).

       31.    Defendants      STEPHEN     DAY,     JOHN      MANGANO,         ALICE

O’LENICK, BEN SATTERFIELD and BEAUTY BALDWIN are sued for

declaratory and injunctive relief in their official capacities as members of the

Gwinnett County Board of Registration and Elections (hereinafter, collectively,

“Gwinnett Board Members” or “Gwinnett Board”). The Gwinnett Board has the

authority to exercise the powers and duties of a county election superintendent with

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respect to conducting elections in Gwinnett County, see O.C.G.A. § 21-2-70 to -77.

The Gwinnett Board is required “[t]o make and issue such rules, regulations, and

instructions, consistent with law, including the rules and regulations promulgated by

the State Election Board, as he or she may deem necessary for the guidance of poll

officers, custodians, and electors in primaries and elections,” id. at § 21-2-70(7), and

“[t]o conduct all elections . . . and to perform such other duties as may be prescribed

by law,” id. at § 21-2-70(13). The Gwinnett Board is responsible for preparing,

obtaining, and delivering the absentee ballot and ballot envelopes to voters, and for

“print[ing] the form of the oath of the elector and the oath for persons assisting

electors . . . and the penalties . . . for violations of the oaths” on the back of the

envelopes. Id. at § 21-2-384(a)(1), (b).

                     STATEMENT OF FACTS AND LAW

                             The Absentee Ballot Stage

      32.    Georgia law authorizes any eligible voter to cast his or her absentee

ballot by mail. O.C.G.A. § 21-2-380(b). To obtain an absentee ballot, the voter must

submit a written application containing the voter’s name, registration address,

mailing address (if different), the election the voter wishes to participate in, and the

name and relationship of the person requesting the ballot if other than the elector. Id.

at § 21-2-381(a)(1)(A), (C). The voter may submit the application by mail, facsimile,

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email, or in person. Id. at § 21-2-381(a)(1)(A). The application can be submitted as

early as 180 days and as late as the Friday before Election Day. Id. at §§ 21-2-

381(a)(1)(A); 21-2-384(a)(2).

      33.    If the board of registrars or the absentee ballot clerk verifies that the

voter is eligible to vote and verifies the voter’s signature the registrar or clerk mails

out the absentee ballot within three business days of receiving the application. Id. at

§ 21-2-381(b)(1)-(2); Ga. Comp. R. & Regs. 183-1-14-.11. Such ballots are mailed

from 49 days before Election Day up to the Friday before Election Day. O.C.G.A. §

21-2-384(a)(2).

      34.    When an absentee voter receives an official absentee ballot, he or she

receives two envelopes. O.C.G.A. § 21-2-384(b). The voter must place the

completed absentee ballot in the smaller of the two envelopes. Id. The smaller

envelope must then be placed in the larger envelope, which contains the oath of the

voter⸺referred to as an “elector” in the oath⸺and a line for the voter’s signature on

the back of the envelope. Id. at § 21-2-384(b)-(c).

      35.    The form of the oath is specified by O.C.G.A. § 21-2-384(c)(1), which

states that: The oaths referred to in subsection (b) of this Code section shall be in

substantially the following form:

      I, the undersigned, do swear (or affirm) that I am a citizen of the United
      States and of the State of Georgia; that I possess the qualifications of
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       an elector required by the laws of the State of Georgia; that I am entitled
       to vote in the precinct containing my residence in the primary or
       election in which this ballot is to be cast; that I am eligible to vote by
       absentee ballot; that I have not marked or mailed any other absentee
       ballot, nor will I mark or mail another absentee ballot for voting in such
       primary or election; nor shall I vote therein in person; and that I have
       read and understand the instructions accompanying this ballot; and that
       I have carefully complied with such instructions in completing this
       ballot. I understand that the offer or acceptance of money or any other
       object of value to vote for any particular candidate, list of candidates,
       issue, or list of issues included in this election constitutes an act of voter
       fraud and is a felony under Georgia law.

       ________________________
       Signature or Mark of Elector
       ________________________
       Printed Name of Elector

       36.    The ballot envelope must also include an oath for those who are

assisting absentee voters, in substantially the following form:2

       Oath of Person Assisting Elector (if any):

       I, the undersigned, do swear (or affirm) that I assisted the above-named
       elector in marking such elector's absentee ballot as such elector
       personally communicated such elector's preference to me; and that such
       elector is entitled to receive assistance in voting under provisions of
       subsection (a) of Code Section 21-2-409.


       This, the ______ day of _________, _________.



2
  Before the General Assembly amended the law in April 2019, the oath required the voter include
the county in which they reside, residential address, and birth year. O.C.G.A. § 21-2-384(c)(1)
(July 2017).
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      __________________________________
      Signature of Person Assisting Elector

      Reason for assistance (Check appropriate square):

        Elector is unable to read the English language.

        Elector requires assistance due to physical disability. . . .

      Georgia law provides that any person who knowingly falsifies
      information so as to vote illegally by absentee ballot or who illegally
      gives or receives assistance in voting, as specified in Code Section 21-
      2-568 or 21-2-573, shall be guilty of a felony.

O.C.G.A. § 21-2-384(c)(1).

      37.    Upon completing the absentee ballot, the voter must secure the ballot

in the small envelope, enclose it in the larger envelope, sign the oath on the back of

the envelope, and return it to the board of registrars or absentee clerk by mail or in

person. Id. at § 21-2-386(a)(1).

      38.    All absentee ballots must be received by 7:00 p.m. on Election Day to

be counted. Id. at § 21-2-386(a)(1)(F).

      39.    Pursuant to O.C.G.A. § 21-2-386(a)(1)(B), “[u]pon receipt of each

ballot,” the registrar or clerk must inspect the information on the oath, including the

voter’s signature, and compare the signature to the signature on the voter’s

registration card or absentee ballot application to determine whether they match.

      40.    If a signature is missing from the oath on the absentee ballot envelope

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or “does not appear to be valid,” (i.e. mismatched), the clerk must “write across the

face of the envelope ‘Rejected,’ giving the reason therefor. . . . [and] shall promptly

notify the elector of such rejection.” Id. at § 21-2-386(a)(1)(C).

      41.    Absentee ballots that have been marked “Rejected” for missing or

mismatched signatures will only be counted only if: (1) the voter submits “an

affidavit to the board of registrars or absentee ballot clerk” along with a copy of an

accepted form of identification no later than three days following the election, id. at

§§ 21-2-386(a)(1)(C), -417(c), -419(c); (2) the affidavit is in the proper form such

that it “affirm[s] that the ballot was submitted by the elector, is the elector’s ballot,

and that the elector is registered and qualified to vote in the primary, election, or

runoff in question, id. at § 21-2-386(a)(1)(C); and (3) “the board of registrars or

absentee ballot clerk finds the affidavit and identification to be sufficient,” id.

      42.    Voters whose absentee ballots have been marked “Rejected” must

submit the cure affidavit and a copy of an accepted ID no later than three days after

the day of the election to cure the missing or mismatched signature. O.C.G.A. §§ 21-

2-386(a)(1)(C), -419(c).

                            The Signature Match Process

      43.    Georgia does not provide the registrars or clerks tasked with conducting

signature matching with any uniform, statewide standard or training for evaluating

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signatures.

      44.     County Election Officials are not required to undergo any type of

handwriting analysis or signature matching training before comparing signatures and

determining whether to reject absentee ballots due to perceived mismatches. As a

result, County Election Officials have no basis by which to evaluate stylistic

differences that might suggest that two signatures were made by different

individuals, as opposed to one individual whose signatures merely show natural

variations for reasons unrelated to their authenticity.

      45.     Because Georgia’s signature matching process involves untrained

human reviewers, it is highly error-prone. Studies conducted by experts in the field

of handwriting analysis have repeatedly found that signature verification by

laypersons is inherently unreliable, and non-experts are significantly more likely to

misidentify authentic signatures as forgeries.

      46.     In one study, for instance, laypersons falsely declared authentic

signatures to be inauthentic at least 26 percent of the time, despite having access to

six authentic reference signatures for comparison. K. Gummadidala, Signature

authentication by forensic document examiners, J. FORENSIC SCI., 46(4) 884-88

(2001).

      47.     Rejecting hundreds of absentee ballots based on a perceived signature

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mismatch, given the absence of sufficient training or consistent standards applied

across counties, is particularly problematic because handwriting can change—and

quickly—for a variety of reasons.

      48.    Factors that can affect a person’s handwriting include physical factors

such as age, illness, injury, medication, eyesight, alcohol, and drugs; mechanical

factors, such as pen type, ink, writing surface and position, and paper quality; and

psychological state of mind. See, e.g., Tomislav Fotak, et al., Handwritten signature

identification using basic concepts of graph theory, 7 WSEAS Transactions on

Signal Processing 145 (2011).

      49.    It is, therefore, inevitable that Georgia election officials will

erroneously determine voters’ signatures are mismatched, leading to wrongful

rejection of legitimate ballots and the disenfranchisement hundreds of eligible

voters.

      50.    Moreover, signature matching laws are particularly problematic for

racial and ethnic minority voters; young, first-time voters; voters with disabilities;

and senior citizen voters, all of whom are more likely to have variations in their

signatures, or voters who may require assistance from others to enter a signature.

See Caligiuri, supra (concluding that the “advanced age of a writer likely contributes

to uncertainty and reduced reliability in the document examiner’s judgment of

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authenticity”). And this is true in Georgia, where the signatures of racial and ethnic

minority voters are often flagged for signature mismatch. As one federal court found,

the absence of any standards or training to differentiate between natural signature

variation and signature mismatches results in “a crazy quilt of conflicting and

diverging procedures.” Fla. Democratic Party v. Detzner, No. 4:16-cv-607, 2016

WL 6090943, at *7 (N.D. Fla. Oct. 16, 2016). This is particularly true in Georgia.

where counties use different signature matching procedures for absentee ballots.

Indeed, some counties provide election officials with minimal instructions on

reviewing signatures, though they do not provide any specific signature matching

criteria. While other counties do not provide election officials with any instructions,

procedures, or guidelines for conducting signature match at all.

      51.    The absence of adequate training, guidance, and uniform standards has

resulted in significant variations in absentee ballot application and ballot rejection

rates for signature mismatch across Georgia’s 159 counties. For example, during the

2018 general election, Gwinnett County Election Officials rejected 56 absentee

ballot applications for mismatched signatures, over 6 percent of the total rejected

applications statewide (905). Meanwhile, Dekalb County Election Officials rejected

31 applications for signature mismatch (40 percent of the county’s 77 rejected

applications) and Forsyth County Election Officials did not reject any absentee

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ballot applications for signature mismatch.

      52.    The same variation occurred for absentee ballots. During the 2018

general election, Henry County Election Officials rejected 25 absentee ballots for

signature mismatch, 11 percent of the ballots rejected statewide for that reason. And

of the 30,214 absentee ballots cast in Gwinnett County, County Election Officials

rejected 15 for mismatched signatures. In Cobb County, election officials rejected

just 11 out of the 30,877 absentee ballots received for mismatched signatures (less

than 2 percent of the 662 absentee ballots rejected in the county). And in Fulton

County, the most populous county in Georgia, County Election Officials rejected

just 1 out of the 23,201 absentee ballots cast for a mismatched signature.

      53.    Given the lack of uniformity among the counties, the risk of

disenfranchisement will continue to be dependent on where a voter lives and how

that county chooses to review signatures under the current law. There is no sufficient

justification for this standardless signature match requirement.

                             The Notification Process

      54.    As described above, Georgia law does not define “prompt” notification;

nor does it specify the method of notification a board of registrars or absentee clerk

must use. And, neither the Secretary nor the State Election Board has issued rules or

regulations defining or identifying the proper form of prompt notification.

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      55.    As a result, counties inconsistently interpret the promptness of the

notice required and employ varying methods of contacting voters. For example,

during the 2018 general election Gwinnett County sent notice by mail within three

days of marking the absentee ballot “Rejected.” Thus, voters whose absentee ballots

arrived on election day did not receive notice until the cure period had ended. These

voters were ultimately disenfranchised. Likewise, voters whose absentee ballots

were received and reviewed within two days of the election were given only one or

two days to cure their absentee ballot.

      56.    Given that absentee ballots are valid if received by 7:00 p.m. on

Election Day, id. at § 21-2-386(a)(1)(F), and that voters have three days after the day

of the election to cure a missing or mismatched signature, id. at §§ 21-2-

386(a)(1)(C), -419(c), had voters received sufficient notice, there is no reason that

they could not have cured their absentee ballots as the law contemplates.

      57.    By contrast, during the 2018 general election, election officials in

Forsyth and Bulloch Counties first attempted to call and/or email voters to inform

them that their signatures were “invalid” or missing from their absentee ballots and

to encourage them to cure their ballots, meaning that these voters were informed of

the defect nearly instantaneously and, solely because of where they lived, were given

a meaningful opportunity to cure.

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      58.    The impact of Georgia’s standardless notification procedure is

demonstrated by the varying rejection rates across the state. Of the 30,214 absentee

ballots cast in Gwinnett County during the 2018 general election, County Election

Officials rejected 118 of them for missing or mismatched signatures, which accounts

for nearly 7 percent of the total absentee ballots rejected in Georgia (1,690). Of the

30,877 absentee ballots received in Cobb County, election officials rejected just

twenty for missing or mismatched signatures (3 percent of the 662 absentee ballots

rejected in the county). In Forsyth County, officials rejected 99 out of the 5,228

absentee ballots cast (1.9 percent); 25 of those ballots were rejected for missing or

mismatched signatures (25 percent of the rejected ballots). Given the lack of

uniformity among the counties, the risk of disenfranchisement will continue to be

dependent on where a voter lives and how that county chooses to contact the voter

under the current law.

               Gwinnett County’s Absentee Ballot Envelope Design

      59.    While the standardless process for signature matching and notifying

absentee voters of missing or mismatched signatures leaves all absentee voters

across Georgia at risk of disenfranchisement, the burden is exacerbated in Gwinnett

County due to the deficient design of the County’s absentee ballot envelope. This is

particularly concerning because more than 44.5 percent of the registered vote of

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Gwinnett County are people of color, with black or African-American voters making

up one-third (27 percent) of Gwinnett County’s active voting population, and the

Hispanic/Latino population making up 8.7 percent of active voters. Gwinnett County

also has the largest number of active American Indian or Alaskan Native voters,

Asian or Pacific Islander voters, and Hispanic/Latino voters in the State. During the

2018 general election, ballots cast by African Americans and Hispanics/Latinos

made up 49 percent of rejected absentee ballots in the County.

      60.    Georgia law provides that each county superintendent must design the

absentee ballot envelope to include the oath specified by the Secretary and described

in O.C.G.A. § 21-2-384(c)(1). See id. § 21-2-384(a)(1), (b), (c).

      61.    The ballot envelope designs, however, can vary based on county-

specific needs. For example, Gwinnett County is the only county in the State

required under federal mandate to provide all voting materials in both English and

Spanish, given its large Hispanic/Latino population. Thus, as described above,

Gwinnett County’s absentee ballot envelope design differs from other counties’

envelopes.

      62.    As a result, unlike the simpler and easier to read absentee ballot

envelopes in Fulton or Dekalb Counties, Gwinnett County’s ballot is nearly illegible.

The oath is printed on absentee ballot envelopes in small, approximately 6.5-point

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font in both English and Spanish. At the top of the envelope, the English and Spanish

oaths are on top of each other; but on the bottom, the English and Spanish oaths for

assisting electors are on the left and right side, respectively. The envelope’s poor

design is cramped and difficult for voters to read and understand. By way of

example, below is the back of the absentee ballot envelope used during the

November 2018 general election:




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      63.    At least one study has shown that rejection of absentee ballots for

technical errors such as failing to sign the absentee envelope is caused by poorly

designed and unusable absentee ballot envelopes. Brennan Center, Better Design,

Better Elections at 30-33, https://www.brennancenter.org/sites/default/files/2019-

08/Report_Better_Design_ Better_Elections.pdf (last visited, Nov. 4, 2019). And

when the envelopes are redesigned to be clearer and more readable, the number of

unsigned ballots significantly decreases. Id.

      64.    Though the 2019 amendments to O.C.G.A. § 21-2-384(c)(1) ensure that

the voter’s address and birth year will be removed from the oath above, because the

oath contains largely the same language as before, it is anticipated that Gwinnett

County’s updated absentee ballot envelope will be substantially similar to the format

set out above, meaning that it will continue to be dense and unreadable, confusing

voters and making it difficult for them to properly complete their absentee ballot

envelope.

      65.    Given the poor design of Gwinnett County’s absentee ballot envelope,

and the grossly inadequate signature matching and notification procedures described

supra, the County unsurprisingly rejects absentee ballots at an alarmingly higher rate

than other counties for missing or mismatched signatures. During the 2018 general

election, even after multiple lawsuits prohibiting election officials from rejecting

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absentee ballots for missing or inaccurate oath information and permitting absentee

voters to cure mismatched signatures on their absentee ballots, Gwinnett County still

ultimately rejected 118 absentee ballots for missing or mismatched signatures.

      66.     Meanwhile other counties rejected a lower number of ballots for

missing or mismatched signatures. For example, in Dekalb County during the 2018

general election, election officials rejected only 15 absentee ballots for missing or

mismatched signatures. And in Fulton County, the most populous county in Georgia,

election officials rejected just 2 ballots for a missing or mismatched signature.

Indeed, Gwinnett County had a significantly higher rate of rejecting absentee voters

than any other county in the state during the 2018 general election. This high

rejection rate is particularly significant because Gwinnett County comprises

approximately 8 percent of active voters in Georgia, the second largest number of

active voters out of every county in the State. And the high absentee ballot rejection

rate within Gwinnett County disproportionately impacts racial, ethnic, and language

minorities.

      67.     The wide disparity in rejection rates between Gwinnett County and

other counties in the state demonstrates that the deficient design, dense language,

and small type of the oath on Gwinnett County’s absentee ballot envelopes has

caused voters to submit their ballots without properly completing the signature

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requirement. And, as described above, even with changes to the oath for future

elections as compared to the oath in 2018, the Gwinnett County absentee ballot

envelope will continue to be confusing and illegible for voters.

                                      COUNT I

                             Equal Protection
                U.S. Const. Amend. XIV, 42 U.S.C. § 1983
               Infringement of the Fourteenth Amendment’s
Guarantee of Equal Protection by Defendants Raffensperger and State Election
                              Board Members

      68.    Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      69.    The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution prohibits a state from “deny[ing] to any person within its

jurisdiction the equal protection of the laws.” U.S. CONST. amend. XIV, § 1. This

constitutional provision requires “that all persons similarly situated should be treated

alike.” City of Cleburne v. Cleburn Living Center, 473 U.S. 432, 439 (1985).

      70.    And this applies to voting. “Having once granted the right to vote on

equal terms, the State may not, by later arbitrary and disparate treatment, value one

person’s vote over that of another.” Bush v. Gore, 531 U.S. 98, 104-05 (2000).

      71.    Georgia’s standardless and error-prone signature matching process

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subjects similarly situated absentee voters to differing standards under each county’s

application of the provisions, resulting in some voters being wholly disenfranchised

based solely on where they live.

      72.    Defendants Raffensperger and the State Election Board Members have

failed to ensure that Georgia absentee voters are treated equally regardless of the

county in which they reside. Due to this disparate treatment, certain absentee voters

who cast ballots in the upcoming 2020 election will face burdens and infringements

on their fundamental right to vote that other, similarly situated voters will not face

due solely to the county in which they vote.

      73.    The signature matching requirements do not further any legitimate state

interest, much less a compelling state interest, that is sufficiently weighty to justify

the disparate treatment of voters.

      74.    Based on the foregoing, Defendants Raffensperger and the State

Election Board Members, acting under color of state law, have deprived and will

continue to deprive Plaintiffs, their constituents, and other Georgia voters of equal

protection under the law secured to them by the Fourteenth Amendment to the

United States Constitution and protected by 42 U.S.C. § 1983.




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                                      COUNT II

                 First Amendment and Equal Protection
               U.S. Const. amends. I, XIV, 42 U.S.C. § 1983
   Undue Burden on the Right to Vote by Defendants Raffensperger and State
                         Election Board Members

      75.    Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      76.    Under the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment, a state cannot utilize election practices that unduly burden

the right to vote. A court considering a challenge to a state election law must

carefully balance the character and magnitude of injury to the First and Fourteenth

Amendment rights that a plaintiff seeks to vindicate against the justifications put

forward by the state for the burdens imposed by the rule. See Burdick v. Takushi,

504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

“However slight th[e] burden may appear, . . . it must be justified by relevant and

legitimate state interests sufficiently weighty to justify the limitation.” Crawford v.

Marion Cty. Election Bd., 553 U.S. 181, 191 (2008) (Stevens, J., controlling opinion)

(internal quotation marks omitted).

      77.    Here, the signature matching laws imposes a severe burden—outright

disenfranchisement—on the right to vote.
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      78.    This burden is not outweighed by any legitimate, much less compelling,

state interest in the law, and countless eligible, registered Georgia voters will suffer

direct and irreparable injury if Defendants fail to ensure that a uniform standard for

signature comparison is applied in each county. Without relief from this Court, these

voters will be deprived of their right to vote in upcoming elections.

      79.    Based on the foregoing, Defendants Raffensperger and the State

Election Board Members, acting under color of law, will deprive Plaintiffs, their

members, constituencies, and the voters who support them, the rights secured to

them by the First and Fourteenth Amendments to the U.S. Constitution and protected

by 42 U.S.C. § 1983.

                                     COUNT III

                                Due Process
                  U.S. Const. Amend. XIV, 42 U.S.C. § 1983
   Denial of Procedural Due Process by Defendants Raffensperger and State
                          Election Board Members

      80.    Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      81.    The Due Process Clause of the United States Constitution prohibits the

states from depriving “any person of …liberty…without due process of law.” U.S.

Const. amend. XIV, § 1. This due process principle protects the fundamental right
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to vote. And “[h]aving induced voters to vote by absentee ballot, the State must

provide adequate process to ensure that voters’ ballots are fairly considered and, if

eligible, counted.” Saucedo, 335 F. Supp. 3d at 217.

      82.      Due process requires that all voters in Georgia be afforded a meaningful

notice and an opportunity to cure missing or mismatched signatures before a voter’s

ballot is permanently rejected. The current “prompt notification” law set out in

O.C.G.A. § 21-2-386(a)(1)(C) fails to provide such process and, as a result, voters’

ballots are not fairly considered and counted, even where the voter is wholly eligible

to vote and, with proper notice, could have cured his or her absentee ballot.

      83.      As numerous other courts have found, a state’s failure to ensure that all

absentee ballots are not rejected before a voter is notified and provided a meaningful

opportunity to be heard violates a voter’s procedural due process rights. See, e.g.,

Saucedo, 335 F. Supp. 3d at 222; Martin v. Kemp, 341 F. Supp. 3d at 1339–40;

Zessar v. Helander, No. 1:05-cv-1917, 2006 WL 642646, at *6˗10 (N.D. Ill. Mar.

13, 2006), vacated as moot sub. nom. Zessar v. Keith, 536 F.3d 788 (7th Cir. 2008);

Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1357˗58 (D.

Ariz. 1990).

      84.      Because voting is a fundamental right, the risk that even one person will

be disenfranchised for failure to include a signature or for a mismatched signature

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given the differing interpretations and procedures for prompt notice is too significant

for Georgia to justify depriving absentee voters a uniform pre-rejection notice that

ensures a meaningful opportunity to be heard.

                                     COUNT IV

                              Equal Protection
                U.S. Const. amend. XIV, 42 U.S.C. § 1983
               Infringement of the Fourteenth Amendment’s
Guarantee of Equal Protection by Defendants Raffensperger and State Election
                              Board Members

      85.     Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      86.     The Equal Protection Clause of the Fourteenth Amendment to the

United States Constitution prohibits states from “deny[ing] to any person within its

jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. This

constitutional provision requires “that all persons similarly situated should be treated

alike.” City of Cleburne, 473 U.S. at 439; see also Bush v. Gore, 531 U.S. at 104–

05 (“Having once granted the right to vote on equal terms, the State may not, by later

arbitrary and disparate treatment, value one person’s vote over that of another[,]”

and holding Equal Protection Clause applies to “the manner of [the] exercise [of

voting].”).

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      87.    The varied county by county interpretations of “promptly notify” under

O.C.G.A. § 21-2-386(a)(1)(C) subject similarly situated absentee voters to differing

standards under each county’s application of the provision, resulting in some voters

being wholly disenfranchised and/or having less time to cure their absentee ballots

than other voters solely based on where they live.

      88.    Defendants Raffensperger and the State Election Board Members have

failed to ensure that Georgia absentee voters are treated equally regardless of the

county in which they reside. Due to this disparate treatment, certain absentee voters

who cast ballots in the upcoming 2020 election will face burdens and infringements

on their fundamental right to vote that other, similarly situated voters will not face

due solely to the county in which they vote.

      89.    Defendants’ unequal treatment of these voters is not justified by, and is

not necessary to promote, any substantial or compelling state interest that cannot be

accomplished by other, less restrictive means.

      90.    Based on the foregoing, Defendants Raffensperger and the State

Election Board Members, acting under color of state law, have deprived and will

continue to deprive Plaintiffs, their constituents, and other Georgia voters of equal

protection under the law secured to them by the Fourteenth Amendment to the

United States Constitution and protected by 42 U.S.C. § 1983.

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                                      COUNT V

                First Amendment and Equal Protection
              U.S. Const. amends. I, XIV, 42 U.S.C. § 1983
  Undue Burden on the Right to Vote by Defendants Raffensperger and State
                        Election Board Members

      91.    Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      92.    Under the First Amendment and the Equal Protection Clause of the

Fourteenth Amendment, a court considering a challenge to a state election law must

carefully balance the character and magnitude of the injury to First and Fourteenth

Amendment rights that the plaintiff seeks to vindicate against the justifications put

forward by the State for the burdens imposed by the rule. See Burdick, 504 U.S. at

434; Anderson, 460 U.S. at 789. “However slight th[e] burden may appear, . . . it

must be justified by relevant and legitimate state interests sufficiently weighty to

justify the limitation.” Crawford, 553 U.S. at 191 (Stevens, J., controlling opinion)

(internal quotation marks omitted).

      93.    The counties’ standardless interpretations of “promptly notify” under

O.C.G.A. § 21-2-386(a)(1)(C) impose a severe burden on the right to vote for

absentee voters across the state, leaving them at risk of being wholly disenfranchised

due to the disparate process for notice applied by each county.
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      94.    This burden is not outweighed by any legitimate, much less compelling,

state interest in the law, and countless eligible, registered Georgia voters will suffer

direct and irreparable injury if Defendants fail to ensure that a uniform standard for

prompt notice is applied in each county. Without relief from this Court, these voters

will be deprived of their right to vote in upcoming elections.

      95.    Based on the foregoing, Defendants Raffensperger and the State

Election Board Members, acting under color of law, will deprive Plaintiffs, their

members, constituencies, and the voters who support them, the rights secured to

them by the First and Fourteenth Amendments to the U.S. Constitution and protected

by 42 U.S.C. § 1983.

                                     COUNT VI

                 First Amendment and Equal Protection
              U.S. Const. amends. I, XIV, 42 U.S.C. § 1983
  Undue Burden on the Right to Vote by Defendant Gwinnett Board Members

      96.    Plaintiffs incorporate by reference and reallege all prior paragraphs of

this Complaint and the paragraphs in the counts below as though set forth fully

herein.

      97.    Under the Equal Protection Clause of the Fourteenth Amendment and

the First Amendment, a state cannot utilize election practices that unduly burden the

right to vote. A court considering a challenge to a state election law must carefully

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balance the character and magnitude of the injury to First and Fourteenth

Amendment rights that the plaintiff seeks to vindicate against the justifications put

forward by the State for the burdens imposed by the rule. See Burdick, 504 U.S. at

434; Anderson, 460 U.S. at 789. “However slight th[e] burden may appear, . . . it

must be justified by relevant and legitimate state interests sufficiently weighty to

justify the limitation.” Crawford, 553 U.S. at 191 (Stevens, J., controlling opinion)

(internal quotation marks omitted).

      98.    The deficient absentee ballot design created by the Defendant Gwinnett

Board Members will impose a burden on Plaintiffs, their constituents, and other

Georgia voters in Gwinnett County.

      99.    The Gwinnett County absentee ballot envelope is a densely-worded,

poorly designed form, with instructions alternating in English and Spanish, printed

in approximately size 6.5-point font and provides no clear notice that a signature is

mandatory. As a result, the form is confusing to voters and makes it far more likely

that they will be unable to properly complete the signature requirement for absentee

ballots. This burden is particularly severe for African-Americans and Latinos, who

make up over 35 percent of Gwinnett County’s active voting population, and 49

percent of rejected absentee ballots during the 2018 general election.

      100. Further, the threat of disenfranchisement in Gwinnett County is

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particularly high given Gwinnett’s ineffective notice procedures for absentee ballots.

      101. Without action from this Court, a significant number of voters will have

their right to vote burdened, if not wholly denied, in upcoming elections due to

Gwinnett County’s absentee ballot envelope design, which places these voters at a

heightened risk of returning an absentee ballot without properly completing the

signature requirement and increase the risk that their ballots will be rejected.

      102. The use of a densely-worded and confusing absentee ballot envelope,

exposing voters to the risk of having their ballots rejected for missing or mismatched

signatures, for the reasons discussed herein, is not supported by any material or

important government interest (indeed, other counties are able to use absentee ballot

envelopes that are much easier to understand). Moreover, any benefits are plainly

outweighed by the severe burden on voters.

      103. Based on the foregoing, the Defendant Gwinnett Board Members,

acting under color of law, will deprive absentee voters residing in the county, the

rights secured to them by the First and Fourteenth Amendments to the U.S.

Constitution and protected by 42 U.S.C. § 1983.




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                           PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully request that this Court enter judgment:

            a)    Declaring that the portions of O.C.G.A. § 21-2-386(a)(1)(C) that

                  require election officials to reject absentee ballots based on

                  signature mismatch violate the Equal Protection Clause of the

                  Fourteenth Amendment of the United States Constitution;

            b)    Declaring that the portions of O.C.G.A. § 21-2-386(a)(1)(C) that

                  require election officials to reject absentee ballots based on

                  signature mismatch are unduly burdensome in violation of the

                  First and Fourteenth Amendments of the United States

                  Constitution;

            c)    Declaring that O.C.G.A. § 21-2-386(a)(1)(C) violates the Due

                  Process Clause of the Fourteenth Amendment of the United

                  States Constitution because the “shall promptly notify” standard

                  fails to provide all Georgia voters with notice and a meaningful

                  opportunity to contest the status of their absentee ballot and cure

                  their ballots before rejecting them;




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     d)    Declaring that O.C.G.A. § 21-2-386(a)(1)(C) violates the Equal

           Protection Clause of the Fourteenth Amendment of the United

           States Constitution because it fails to provide a uniform standard

           by which election officials “shall promptly notify” Georgia

           citizens of their rejected ballots;

     e)    Declaring that the lack of uniform standards for providing notice

           to Georgia voters regarding their rejected absentee ballots is

           unduly burdensome in violation of the First and Fourteenth

           Amendments of the United States Constitution;

     f)    Declaring that the Gwinnett County’s absentee ballot envelope

           design is unduly burdensome in violation of the First and

           Fourteenth Amendments of the United States Constitution;

     g)    Requiring the Secretary and the State Election Board to instruct

           County Election Officials to notify voters of missing or

           mismatched signatures by telephone, email, and/or text message

           within one day of receiving the absentee ballot;

     h)    Preliminarily and permanently enjoining the Secretary and the

           State Election Board from enforcing the portions of O.C.G.A. §

           21-2-386(a)(1)(C) that require election officials to reject

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           absentee ballots based on a signature mismatch;

     i)    Preliminarily and permanently enjoining the Gwinnett Board

           from creating, preparing, and distributing absentee ballot

           envelopes with a confusing, illegible design;

     j)    Awarding Plaintiffs costs, disbursements, and reasonable

           attorneys’ fees incurred in bringing this action pursuant to 42

           U.S.C. § 1988 and other applicable laws; and granting such other

           and further relief as the Court deems just and proper.




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Dated: December 27, 2019         Respectfully submitted,


                                 Marc Erik Elias
                                 Marc Erik Elias*
                                 Bruce V. Spiva*
                                 John Devaney*
                                 Amanda R. Callais*
                                 K’Shaani Smith*
                                 Emily R. Brailey*
                                 PERKINS COIE LLP
                                 700 Thirteenth Street, N.W., Suite 600
                                 Washington, D.C. 20005-3960
                                 Telephone: (202) 654-6200
                                 Facsimile: (202) 654-6211
                                 MElias@perkinscoie.com
                                 BSpiva@perkinscoie.com
                                 JDevaney@perkinscoie.com
                                 ACallais@perkinscoie.com
                                 KShaaniSmith@perkinscoie.com
                                 EBrailey@perkinscoie.com

                                 Halsey G. Knapp, Jr.
                                 Georgia Bar No. 425320
                                 Joyce Gist Lewis
                                 Georgia Bar No. 296261
                                 KREVOLIN & HORST, LLC
                                 One Atlantic Center
                                 1201 W. Peachtree St., NW, Suite 3250
                                 Atlanta, GA 30309
                                 Telephone: (404) 888-9700
                                 Facsimile: (404) 888-9577
                                 hknapp@khlawfirm.com
                                 jlewis@khlawfirm.comp
                                 Counsel for Plaintiffs
                                 *Admitted Pro Hac Vice

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing Plaintiffs’ First Amended Complaint for

Injunctive and Declaratory Relief has been prepared in accordance with the font type

and margin requirements of L.R. 5.1, using font type of Times New Roman and a

point size of 14.

Dated: December 27, 2019                        Marc Erik Elias
                                                Counsel for Plaintiffs




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                          CERTIFICATE OF SERVICE

      I hereby certify that on the 27th day of December 2019, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system which will

automatically send email notification of such filing to parties in this action.


Dated: December 27, 2019                          Marc Erik Elias
                                                  Counsel for Plaintiffs




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